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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

BRANDON ALBERT SIBLEY ET AL                            CASE NO. 3:23-CV-00024
VERSUS                                                 JUDGE S. MAURICE HICKS, JR.

SHELLY D DICK ET AL                                    MAGISTRATE JUDGE CAROL B.
                                                       WHITEHURST


                               NOTICE OF MOTION SETTING

        The Motion to Dismiss, Motion to Dismiss for Failure to State a Claim (Document No. 50)
filed by Shelly D Dick on May 23, 2023, has been referred to the Honorable S. Maurice Hicks, Jr.
A written ruling will be issued in due course.

                                             Deadlines

       Any party who opposes the motion may file a memorandum in opposition within fourteen
(14) calendar days from the date of this notice. The movant may file a reply memorandum,
without leave of court, within seven (7) calendar days after the date on which the memorandum
in opposition is filed.

                                       No Oral Argument

        It is the policy of the Court to decide motions on the basis of the record without oral
argument. Briefs should fully address all pertinent issues. All parties will be notified if the Court
finds oral argument is necessary.

                                   Courtesy Copies Required

       A courtesy copy of the briefs and any attachments MUST be provided to chambers
promptly after filing in both paper and electronic formats. The mailing address is Tom Stagg
United States Court House 300 Fannin St., Suite 5101, Shreveport, LA, 71101. The electronic
copy shall be formatted in either Word Perfect, Word, or Rich Text Format and e-mailed to
motions_hicks@lawd.uscourts.gov.

DATE OF NOTICE: May 23, 2023

                                             MICHAEL L. MCCONNELL
                                             CLERK OF COURT
